      Case 4:22-cv-00509 Document 13 Filed on 07/22/22 in TXSD Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                    |
JENNIFER STEELE,                                    |
                                                    |
v.                                                  | Case No.: 4:22-cv-509
                                                    |
TURTLE CREEK ASSETS, LTD.,                          |
and GORDON ENGLE, individually                      |
      Defendants.                                   |
                                                    |

                                   NOTICE OF SETTLEMENT

TO THE HONORABLE JUDGE OF SAID COURT:

        NOTICE IS HEREBY GIVEN that all claims pending against the Defendants have been

resolved to the parties’ satisfaction.

Dated: July 22, 2022                         Respectfully submitted,

                                             /s/ Jeffrey D. Wood
                                             Jeffrey D. Wood, Esq.
                                             ArkBN: 2006164
                                             THE WOOD FIRM, PLLC
                                             11610 Pleasant Ridge Rd.
                                             Suite 103 – Box 208
                                             Little Rock, AR 72223
                                             TEL: 682-651-7599
                                             FAX: 888-598-9022
                                             EMAIL: jeff@jeffwoodlaw.com
                                             Attorney for Plaintiff


                                  CERTIFICATE OF SERVICE

       I hereby certify that, on June 3, 2022, a true and correct copy of the foregoing document
has been served on all parties of record via the court’s electronic filing system.


                                             /s/ Jeffrey D. Wood
                                             Jeffrey Wood
